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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

ADAM COOKE, derivatively on behalf of
                                        C.A. No. ________
HARBOR DIVERSIFIED, INC.,

                   Plaintiff,
                                        Jury Trial Demanded
      v.

RICHARD A. BARTLETT, NOLAN
BEDERMAN, KEVIN J. DEGEN,
CHRISTINE R. DEISTER, GREGG
GARVEY, and LIAM MACKAY,

                   Defendants,

      and

HARBOR DIVERSIFIED, INC.,

                   Nominal Defendant.


            VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
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                                        INTRODUCTION

       Plaintiff Adam Cooke (“Plaintiff”), by and through his counsel, derivatively on behalf of

Nominal Defendant Harbor Diversified, Inc. (“Harbor Diversified” or the “Company”), submits

this Verified Stockholder Derivative Complaint against Defendants and alleges the following upon

information and belief, except as to those allegations concerning Plaintiff, which are alleged upon

personal knowledge. Plaintiff’s information and belief is based upon, among other things, his/her

counsel’s investigation, which included, inter alia, review and analysis of (i) regulatory filings

made by Harbor Diversified with the United States Securities and Exchange Commission (“SEC”);

(ii) press releases issued and disseminated by Harbor Diversified; (iii) court submissions in a

securities class action lawsuit against certain officers and members of the Company’s Board of

Directors (the “Board”) alleging issuance of false and misleading statements of material fact and

the omission of material facts necessary to make other statements made not misleading, between

May 10, 2022 and March 29, 2024 (the “Relevant Period”) with respect to Harbor Diversified’s

business, operations, and prospects; and (iv) other publicly available information concerning

Harbor Diversified.

                                  NATURE OF THE ACTION

       1.      This is a stockholder derivative action asserted on behalf of Nominal Defendant

Harbor Diversified against certain officers and the members of the Company’s Board for the

claims asserted herein to recover damages caused to the Company as described herein.

       2.      Harbor Diversified describes itself as a non-operating holding company that is the

parent of a consolidated group of subsidiaries, including AWAC Aviation, Inc. (“AWAC”), which

is the sole member of Air Wisconsin Airlines LLC (“Air Wisconsin”), a regional air carrier.

Harbor Diversified is also the direct parent of three other subsidiaries: (1) Lotus Aviation Leasing,




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LLC (“Lotus”), which leases flight equipment to Air Wisconsin; (2) Air Wisconsin Funding LLC

(“AWF”), which provides flight equipment financing to Air Wisconsin; and (3) Harbor

Therapeutics, Inc. (“Therapeutics”), which is a non-operating entity with no material assets. The

Company offers transportation, flight equipment financing, and flight equipment leasing services.

       3.      This action alleges that during the Relevant Period, the Individual Defendants

(defined herein) made false and misleading statements regarding the Company’s internal controls,

particularly concerning revenue recognition and the integrity of its financial statements. The

Individual Defendants repeatedly assured investors that Harbor Diversified maintained adequate

internal controls and that the Board, particularly through its Audit Committee, provided effective

oversight of the Company’s financial reporting and risk management processes.

       4.      However, on March 29, 2024, Harbor Diversified filed a Form 8-K with the SEC

revealing that its previously issued financial statements for the year ended December 31, 2022,

and the first three quarters of both 2022 and 2023 could no longer be relied upon due to

misstatements. The Company also disclosed a material weakness in its internal controls over

financial reporting.

       5.      This Action asserts that the Individual Defendants breached their fiduciary duties

to the Company by:

               a)      Failing to implement and maintain adequate internal controls over the

                       Company’s financial reporting and revenue recognition practices;

               b)      Making or allowing the Company to make false and misleading statements

                       regarding the effectiveness of its internal controls and the accuracy of its

                       financial statements;




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               c)      Failing to properly oversee the Company’s financial reporting and risk

                       management processes, despite their assurances to the contrary; and

               d)      Exposing the Company to significant financial and reputational harm,

                       including potential legal liabilities and regulatory scrutiny.

         6.    As a direct and proximate cause of the Individual Defendants’ (defined below)

breaches of fiduciary duty and violations of securities laws, Harbor Diversified has suffered and

will continue to suffer substantial damages, including costs associated with restating its financial

statements, potential regulatory fines and penalties, litigation expenses, and loss of investor

confidence.

                                JURISDICTION AND VENUE

         7.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

Plaintiff’s claims raise a federal question under Sections 10(b) and 20D of the Securities Exchange

Act and SEC Rule 10b-5 promulgated thereunder. The Court has supplemental jurisdiction over

the pendent state law claims pursuant to 28 U.S.C. § 1367(a) because the state law claims form

part of the same case or controversy. This action is not a collusive one designed to confer

jurisdiction on a court of the United States that it would not otherwise have.

         8.    This Court has jurisdiction over each Defendant because they reside in this District

or have sufficient minimum contacts with this District to render the exercise of jurisdiction by the

Court permissible under traditional notions of fair play and substantial justice. The Court has

personal jurisdiction over the Nominal Defendant because it is authorized to do business in this

state.

         9.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 because a substantial

portion of the transactions and wrongs complained of herein, including the Defendants’ primary




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participation in the wrongful acts detailed herein and violation of fiduciary duties owed to Harbor

Diversified. Venue is also proper pursuant to 28 U.S.C. § 1401 because Nominal Defendant

Harbor Diversified could have sued the same Defendants in this District.

                                            PARTIES

       10.     Plaintiff is a Harbor Diversified stockholder and has continuously held Harbor

Diversified stock from the time of the wrongdoing alleged herein until the present. Plaintiff will

fairly and adequately represent Harbor Diversified’s interest in this action.

       11.     Nominal Defendant Harbor Diversified is incorporated under the laws of the state

of Delaware, and its principal executive offices are located at W6390 Challenger Drive, Suite 203,

Appleton, Wisconsin 54914-9120. Harbor Diversified’s common stock trades on the Over-the-

Counter (“OTC”) Market under the symbol ticker HRBR.

       12.     Defendant Richard A. Bartlett (“Bartlett”) has served on the Company’s Board

since August 2011. Defendant Bartlett served on the board of directors of the Company’s

subsidiary, Air Wisconsin for more than 25 years.

       13.     Defendant Nolan Bederman (“Bederman”) has served on the Board and on the

board of directors of Air Wisconsin since March 2019.

       14.     Defendant Kevin J. Degen (“Degen”) has served on the Board and on Air

Wisconsin’s board of managers since March 2019.

       15.     Christine R. Deister (“Deister”) has served as the Company’s Chief Executive

Officer (“CEO”) and Secretary since March 2020. She has also served as Chief Financial Officer

(“CFO”) and Secretary of Lotus, CFO and Secretary of AWF, and President, Secretary, and

Director of Therapeutics since April 2020. She has also served as EVP and Director of AWAC

since at least 2020. Defendant Deister has also served as Vice President (“VP”) of Special Projects




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for Air Wisconsin since April 2020. Defendant Deister served as President and CEO of Air

Wisconsin from April 2015 until March 2019 and as CEO until March 2020. Defendant Deister

served as Chief Commercial Officer of Air Wisconsin from November 2014 to April 2015 and as

its EVP and CFO from November 2004 to November 2014.

       16.    Defendant Gregg Garvey (“Garvey”) has served as Air Wisconsin’s Senior VP,

Chief Accounting Officer, and Treasurer since October 2018 and has worked with Air Wisconsin

in various roles since 1999. He also serves as Vice President, CFO, and Treasurer of AWAC.

       17.    Defendant Liam Mackay (“Mackay”) has served as Air Wisconsin’s CFO since

January 1, 2021. Prior to joining Air Wisconsin, Defendant Mackay served as Director, United

Express Commercial Strategy at United Airlines, Inc. (“United”) since 2019. Previously, he also

served as Director, United Express Regional Partner Management at United from 2016 to 2019

and as its Senior Manager, Financial Analysis from 2011 to 2016.

       18.    The following Defendants are collectively referenced herein as the “Individual

Defendants”: Bartlett, Bederman, Degen, Deister, Garvey, and Mackay.

       19.    The following Individual Defendants are collectively referenced herein as the

“Director Defendants”: Bartlett, Bederman, and Degen.

       20.    The following Individual Defendants are collectively referenced herein as the

“Officer Defendants”: Deister, Garvey, and Mackay.

       21.    The following Individual Defendants are collectively referenced herein as the

“Audit Committee Defendants”: Bederman and Degen.

       22.    The following Individual Defendants are collectively referenced herein as the

“Securities Class Action Defendants”: Deister and Mackay




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       23.     The Individual Defendants and Nominal Defendant are collectively referenced

herein as “Defendants.”

                 THE INDIVIDUAL DEFENDANTS OWE FIDUCIARY
                DUTIES TO THE COMPANY AND ITS STOCKHOLDERS

       24.     At all times relevant to this case, the conduct of the Individual Defendants was

governed by well-recognized rules to protect the Company and its Stockholders, the members of

the public who had invested in Harbor Diversified.

       25.     Because of their positions as officers and/or directors of the Company and their

ability to control its business and corporate affairs, the Individual Defendants owed the Company

and its stockholders the fiduciary obligations of good faith, loyalty, and candor and were and are

required to use their utmost ability to control and manage the Company in a fair, just, honest, and

equitable manner.

       26.     The Individual Defendants were and are required to act in furtherance of the best

interests of the Company and its stockholders to benefit all stockholders equally and not in

furtherance of their personal interest or benefit.

       27.     Each of the Company’s directors owes to the Company and its stockholders

fiduciary duties of care and loyalty, including good faith, oversight, and candor, to exercise good

faith and diligence in the administration of the affairs of the Company and in the use and

preservation of its property and assets.

       28.     Because of their positions of control and authority as directors and/or officers of

the Company, the Individual Defendants were able to and did, directly and/or indirectly, exercise

control over the wrongful acts alleged herein.

       29.     To discharge their duties, the Individual Defendants were required to exercise

reasonable and prudent supervision over the management, policies, practices, and controls of the



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Company. By virtue of such duties, the officers and directors of Harbor Diversified were required

to do the following:

               a)      Ensure that the Company complied with its legal obligations and

                       requirements, including acting only within the scope of its legal authority

                       and disseminating truthful and accurate statements to the SEC and the

                       investing public;

               b)      Conduct the affairs of the Company in a lawful, efficient, and business-like

                       manner to make it possible for the Company to provide the highest quality

                       performance of its business, to avoid wasting the Company’s assets, and to

                       maximize the value of the Company’s stock;

               c)      Properly and accurately inform investors and analysts as to the true financial

                       condition of the Company at any given time, make accurate statements

                       about the Company’s financial results and prospects, and ensure that the

                       Company maintained an adequate system of financial controls such that the

                       Company’s financial reporting would be true and accurate at all times;

               d)      Remain informed as to how the Company conducted its operations, and,

                       upon notice of imprudent or unsound conditions or practices, make

                       reasonable inquiry into the nature and cause of such conditions and

                       practices, correct such conditions or practices, and make such disclosures

                       as necessary to comply with federal and state securities laws; and

               e)      Ensure that the Company was operated in a diligent, honest, and prudent

                       manner in compliance with all applicable federal, state, and local laws,

                       rules, and regulations.




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         30.    The Individual Defendants knowingly violated their obligations as directors and

officers of the Company, acting without good faith and consciously disregarding their duties to the

Company and its Stockholders despite their knowledge of the risk of serious injury to the

Company.

         31.    Because of their positions of control and authority, the Individual Defendants were

able to exercise control over the wrongful acts complained of herein, as well as the contents of the

various public statements issued by Harbor Diversified.

         32.    The Company’s full year 2022 report provides filed on Form 10-K with the SEC 1as

follows with respect to the Board’s role in oversight:

         The [Board] provided oversight with respect to our management of risk, both as
         a whole and through the audit committee. The [Board] typically reviews and
         discusses with management at each of its regular meetings information presented
         by management relating to our financial and operational results and outlook,
         including risks related to our business and operations. The audit committee
         oversees the management of risk as part of its responsibilities related to the
         oversight of the Company’s independent registered public accounting firm, and
         the review of the Company’s financial results and internal control over financial
         reporting.

         33.    According to the 2022 Form 10-K, the Board has adopted a Code[] of Business

Conduct and Ethics (“Code of Ethics”):

         We have adopted a [Code of Ethics] applicable to our principal executive officer,
         principal financial officer, principal accounting officer and other officers that
         have a financial or operational oversight role, which is intended to comply with
         the requirements of Item 406 of Regulation S-K. We expect that any amendment
         to the Code of Ethics, or any waivers of its requirements applicable to our
         executive officers or directors, will be disclosed in the Company’s future filings
         under the Exchange Act. The Code of Ethics was previously filed as an exhibit
         to our SEC reports and is incorporated by reference to this [2022 Form 10-K] as
         Exhibit 14.1.




1
    Harbor Diversified, Inc. Annual Report (Form 10-K) (April 3, 2023)(“2022 Form 10-K”).


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       34.       The Code of Ethics, incorporated by reference to the 2022 Form 10-K, states as

follows:

       I. Purpose

                                         *       *      *

             •      As a general matter, this Code is designed to deter wrongdoing and
                    promote:

             •      Honest and ethical conduct, including the ethical handling of actual or
                    apparent conflicts of interest between personal and professional
                    relationships;

             •      Full, fair, accurate, timely and understandable disclosure in reports
                    and documents filed by the Company with, or submitted to, the SEC
                    and in the Company’s other public communications;

             •      Compliance with applicable laws, rules, regulations and the listing
                    standards of any national securities exchange on which the
                    Company’s securities are listed for trading (“listing standards”);

             •      Prompt internal reporting of violations of this Code in the manner
                    described herein; and

             •      Accountability for adherence to this Code.

       II. Applicability

       This Code applies to the Chief Executive Officer, Chief Financial Officer, Chief
       Accounting Officer and Controller of the Company, and any other officer of the
       Company (or any of its subsidiaries) that is performing similar functions or that
       is performing a financial oversight role (collectively, the “Senior Financial
       Officers”). The Senior Financial Officers are also bound by any other corporate
       governance policies and procedures that have been, or may hereafter be, adopted
       by the Company (or any of its subsidiaries) and are applicable to the Company’s
       officers or employees (collectively, the “Governance Policies”). Nothing in this
       Code is intended to limit the requirements or obligations imposed on the Senior
       Financial Officers by the Governance Policies.

       By accepting this Code, each Senior Financial Officer agrees that he or she will
       promote high standards of ethical business conduct and compliance with
       applicable laws, rules, regulations and listing standards, including by adhering to
       the principles and responsibilities set forth in this Code.



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    In addition, part of each Senior Financial Officer’s ethical responsibility is to help
    enforce this Code and encourage others to comply with this Code. Each Senior
    Financial Officer should promptly report violations or suspected violations of this
    Code to the Audit Committee of the Board (the “Audit Committee”).

    III. Principles and Responsibilities

    A. Standard of Conduct

    Each Senior Financial Officer has a duty to comply with applicable laws, rules,
    regulations and listing standards; act with honesty and integrity in all dealings
    with the Company and any of its constituents; and use care and diligence in
    performing his or her responsibilities to the Company. Each Senior Financial
    Officer also has a duty to advocate compliance with these principles by other
    employees.

    B. Relationship with Independent Auditors

    Each Senior Financial Officer has a duty to work cooperatively with the
    Company’s independent auditors in the conduct of the audit of the Company’s
    annual financial statements, the review of the Company’s quarterly financial
    statements, the evaluation of the Company’s internal controls, and the preparation
    of reports and documents filed by the Company with, or submitted to, the SEC.

    C. Company Disclosures

    Each Senior Financial Officer shall be responsible for full, fair, accurate and
    timely disclosure in the reports and documents that the Company files with, or
    submits to, the SEC and in other public communications made by the Company.
    Each Senior Financial Officer must promptly bring to the attention of the Audit
    Committee any material information that he or she may become aware of that is
    likely to materially affect the timing, accuracy or completeness of disclosures
    made by the Company in its SEC filings or other public communications.

    D. Internal Controls/ Fraud

    Each Senior Financial Officer must promptly bring to the attention of the Audit
    Committee any information he or she may have or become privy to concerning
    (i) significant deficiencies in the design or operation of internal controls which
    could adversely affect the Company’s ability to record, process, summarize and
    report financial data, and (ii) any fraud, whether or not material, that involves
    management or other employees who have a significant role in the Company’s
    financial reporting, disclosures or internal controls.




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                             THE AUDIT COMMITTEE
                       DEFENDANTS OWE ADDITIONAL DUTIES

       35.     The Audit Committee Charter (the “Audit Charter”) places additional duties and

responsibilities upon the members of the Board’s Audit Committee, which consisted of Bederman

and Degen during the Relevant Period.

       36.     Pursuant to the 2022 Form 10-K, the Company has a standing Audit Committee

that “oversees [Harbor Diversified’s] corporate accounting and financial reporting process and the

audits of the Company’s financial statements.” The 2022 Form 10-K stated that the Audit

Committee’s principal functions are as follows:

       (i)     oversee the integrity of the Company’s financial statements, the audits of
               the Company’s financial statements conducted by the Company’s
               independent registered public accounting firm (“Independent Auditors”),
               the qualifications, independence and performance of the Independent
               Auditors, and compliance with legal, regulatory and disclosure
               requirements relating to the Company’s accounting and financial reporting
               processes;

       (ii)    review the Company’s internal control over financial reporting; and

       (iii)   facilitate communication among the Independent Auditors, the Company’s
               financial and senior management, and the board of directors of the
               Company.

       37.     The 2022 Form 10-K further states that the Audit Committee is “is directly

responsible for oversight of the work of the Independent Auditors, including resolution of any

disagreements between management and the Independent Auditors regarding financial reporting

or the application of accounting policies.” The “oversight includes review and discussion with

management and the Independent Auditors of” the following:

       (i)     the Company’s financial statements and the reports or information delivered
               to the audit committee by the Independent Auditors; and

       (ii)    analyses prepared by management and the Independent Auditors setting
               forth significant financial reporting issues and judgments made in



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               connection with the preparation of the financial statements, as well as
               assessment of the Company’s system of internal control over financial
               reporting.

       38.     Moreover, the Audit Committee is also responsible for the following:

       [T]he review, approval and monitoring of transactions involving the Company
       and any “related persons” (directors or executive officers, or stockholders owning
       5.0% or greater of our outstanding capital stock, or any of their respective
       immediate family members) that involve amounts exceeding $120,000 in which
       a related person has a direct or indirect material interest.

                                        BACKGROUND

       39.     Harbor Diversified describes itself as a non-operating holding company that is the

parent of a consolidated group of subsidiaries, including AWAC, which is the sole member of Air

Wisconsin Airlines, a regional air carrier. Harbor Diversified is also the direct parent of three

other subsidiaries: (1) Lotus, which leases flight equipment to Air Wisconsin, (2) AWF, which

provides flight equipment financing to Air Wisconsin, and (3) Therapeutics which is a non-

operating entity with no material assets.

       40.     Harbor Diversified’s SEC filings describe the crucial role of regional jets in the

nation’s air transportation system. These aircraft serve two main purposes: connecting smaller

communities to larger urban areas and feeding passengers into major airlines’ domestic and

international hubs. Their lower operational costs and the competitive nature of capacity purchase

agreements make them valuable assets for major airlines.

       41.     The importance of regional airlines is underscored by data from the 2022 Regional

Airline Association Annual Report, which provided the following statistics for 2021:

               a)      Regional airlines operated 41% of all scheduled passenger flights in the

                       United States.




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               b)     They were the sole providers of scheduled air service at 67% of U.S.

                      airports.

               c)     Air Wisconsin, a subsidiary of Harbor Diversified, ranked as the ninth-

                      largest regional airline in the country based on passenger numbers. It

                      accounted for about 2.78% of all passengers transported by U.S. regional

                      carriers.

       42.     These statistics highlight the significant market presence and essential function of

regional airlines, including Air Wisconsin, in the broader U.S. air travel ecosystem.

       43.     In 2022, Air Wisconsin operated a fleet of 63 CRJ-200 regional jets under a

capacity purchase agreement with United Airlines, Inc. (“United”), its exclusive major airline

partner (the “United Agreement”). The United Agreement stipulated that United would buy the

capacity of Air Wisconsin’s jets, which were then operated under the United Express brand.

       44.     Air Wisconsin’s operations were concentrated at two of United’s primary domestic

hubs: Chicago O’Hare and Washington-Dulles International Airports. The significance of this

partnership is evident from the fact that over 99.9% of Harbor Diversified’s operating revenues in

both 2021 and 2022 were generated from activities related to this capacity purchase agreement

with United.

       45.     The United Agreement highlights the critical nature of the United partnership to

Air Wisconsin’s operations and, by extension, to Harbor Diversified’s financial performance

during this period.

       46.     The United Agreement offers a structured compensation model with several key

components, including fixed daily payments for each aircraft under the agreement, set fees for

each departure and flight hour, reimbursement for specific operational costs, and additional




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payments based on meeting certain scheduling targets. The United Agreement purports to provide

Air Wisconsin with a degree of financial stability, shielding it from common industry volatilities

such as fuel price fluctuations, ticket price changes, and passenger number variations.

       47.     Under the United Agreement, Air Wisconsin operates as an extension of United,

using United’s branding, including logos, service marks, and aircraft livery. United maintains

control over critical aspects of the operation, including route planning, pricing strategies, seat

inventory management, marketing initiatives, and flight scheduling. Furthermore, United provides

essential support services to Air Wisconsin, such as ground operations and airport gate access.

This structure allows Air Wisconsin to function as an integrated part of United’s network while

benefiting from a more predictable revenue stream and operational support.

                        DEFENDANTS BREACH THEIR DUTIES
                     TO THE COMPANY AND ITS STOCKHOLDERS

       48.     Through a series of communications, Defendants made materially false and

misleading statements and failed to disclose material adverse facts about the Company’s business,

operations, and prospects. Specifically, the Individual Defendants made false and misleading

statements regarding the Company’s internal controls, particularly concerning revenue recognition

and the integrity of its financial statements. The Individual Defendants repeatedly assured

investors that Harbor Diversified maintained adequate internal controls and that the Board,

particularly through its Audit Committee, provided effective oversight of the Company’s financial

reporting and risk management processes.

       49.     In truth, the Individual Defendants breached their fiduciary duties to the Company

by:

               a)     Failing to implement and maintain adequate internal controls over the

                      Company’s financial reporting and revenue recognition practices;



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                  b)     Making or allowing the Company to make false and misleading statements

                         regarding the effectiveness of its internal controls and the accuracy of its

                         financial statements;

                  c)     Failing to properly oversee the Company’s financial reporting and risk

                         management processes, despite their assurances to the contrary; and

                  d)     Exposing the Company to significant financial and reputational harm,

                         including potential legal liabilities and regulatory scrutiny.

         50.      Following the close of trading on May 9, 2022, Harbor Diversified submitted its

first quarter 2022 financial report on Form 10-Q to the SEC. 2 The Q1 2022 Form 10-Q covered

the Company’s financial performance for the period ending March 31, 2022. The filing included

Sarbanes-Oxley Act (“SOX”) certifications, which were signed by Defendants Deister and

Mackay.        These certifications affirmed three key points: (i) the accuracy of the financial

information presented in the report, (ii) the disclosure of any significant changes to the Company’s

internal financial control systems, and (iii) the reporting of any fraudulent activities. By signing

these certifications, Defendant Deister and Mackay personally vouched for the integrity of the

Company’s financial reporting and internal control mechanisms for the quarter in question.

         51.      The Q1 2022 Form 10-Q included a statement pursuant to Rule 15d-15(b) of the

Exchange Act that assured investors that the Individual Defendants determined that Harbor

Diversified’s methods for controlling and releasing key information were operating effectively at

the end of the quarter and that the Company’s systems provided a reasonable level of assurance in

terms of their reliability and performance:

         As required by Rule 15d-15(b) under the Exchange Act, our management,
         including our principal executive officer, principal financial officer and principal


2
    Harbor Diversified, Inc., Quarterly Report (Form 10-Q) (May 9, 2022) (“Q1 2022 Form 10-Q”).


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       accounting officer, carried out an evaluation of the effectiveness of the design
       and operation of our disclosure controls and procedures (as defined in Rule 15d-
       15(e) under the Exchange Act) as of March 31, 2022, the last day of the period
       covered by this [the Q1 2022 Form 10-Q]. Based on this evaluation, our
       management, including our principal executive officer, principal financial officer
       and principal accounting officer, concluded that, as of March 31, 2022, our
       disclosure controls and procedures were effective at the reasonable assurance
       level.

       52.    The Q1 2022 Form 10-Q included the following Consolidated Statement of

Operations chart containing the Company’s revenues:




       53.    The above statements identified in ¶¶ 50-52 were materially false and misleading

because the Individual Defendants made false and misleading statements regarding the Company’s

internal controls, particularly concerning revenue recognition and the integrity of its financial

statements. The Individual Defendants repeatedly assured investors that Harbor Diversified

maintained adequate internal controls and that the Board, particularly through its Audit


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Committee, provided effective oversight of the Company’s financial reporting and risk

management processes.

        54.    In truth, the Individual Defendants breached their fiduciary duties to the Company

by:

               a)     Failing to implement and maintain adequate internal controls over the

                      Company’s financial reporting and revenue recognition practices;

               b)     Making or allowing the Company to make false and misleading statements

                      regarding the effectiveness of its internal controls and the accuracy of its

                      financial statements;

               c)     Failing to properly oversee the Company’s financial reporting and risk

                      management processes, despite their assurances to the contrary; and

               d)     Exposing the Company to significant financial and reputational harm,

                      including potential legal liabilities and regulatory scrutiny.

        55.    As a result, the Company had to restate the Q1 2022 Form 10-Q revenues stated in

paragraph 52 above.

        56.    On August 10, 2022, Harbor Diversified submitted its second quarter 2022 financial

report on Form 10-Q to the SEC. 3 The Q2 2022 Form 10-Q covered the Company’s financial

performance for the period ending June 30, 2022. The filing included SOX certifications, which

were signed by Defendants Deister and Mackay. These certifications affirmed three key points:

(i) the accuracy of the financial information presented in the report, (ii) the disclosure of any

significant changes to the Company’s internal financial control systems, and (iii) the reporting of




3
 Harbor Diversified, Inc., Quarterly Report (Form 10-Q) (August 10, 2022) (“Q2 2022 Form 10-
Q”).


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any fraudulent activities.   By signing these certifications, Defendant Deister and Mackay

personally vouched for the integrity of the Company’s financial reporting and internal control

mechanisms for the quarter in question.

       57.     The Q2 2022 Form 10-Q included a statement pursuant to Rule 15d-15(b) of the

Exchange Act that assured investors that the Individual Defendants determined that Harbor

Diversified’s methods for controlling and releasing key information were operating effectively at

the end of the quarter and that the Company’s systems provided a reasonable level of assurance in

terms of their reliability and performance:

       As required by Rule 15d-15(b) under the Exchange Act, our management,
       including our principal executive officer, principal financial officer and principal
       accounting officer, carried out an evaluation of the effectiveness of the design
       and operation of our disclosure controls and procedures (as defined in Rule 15d-
       15(e) under the Exchange Act) as of June 30, 2022, the last day of the period
       covered by this Q2 2022 Form 10-Q. Based on this evaluation, our management,
       including our principal executive officer, principal financial officer and principal
       accounting officer, concluded that, as of June 30, 2022, our disclosure controls
       and procedures were effective at the reasonable assurance level.

       58.     The Q2 2022 Form 10-Q included the following Consolidated Statement of

Operations chart containing the Company’s revenues:




                                                18
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       59.    The above statements identified in ¶¶ 56-58 were materially false and misleading

because the Individual Defendants made false and misleading statements regarding the Company’s

internal controls, particularly concerning revenue recognition and the integrity of its financial

statements. The Individual Defendants repeatedly assured investors that Harbor Diversified

maintained adequate internal controls and that the Board, particularly through its Audit

Committee, provided effective oversight of the Company’s financial reporting and risk

management processes.

       60.    In truth, the Individual Defendants breached their fiduciary duties to the Company

by:




                                               19
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               a)      Failing to implement and maintain adequate internal controls over the

                       Company’s financial reporting and revenue recognition practices;

               b)      Making or allowing the Company to make false and misleading statements

                       regarding the effectiveness of its internal controls and the accuracy of its

                       financial statements;

               c)      Failing to properly oversee the Company’s financial reporting and risk

                       management processes, despite their assurances to the contrary; and

               d)      Exposing the Company to significant financial and reputational harm,

                       including potential legal liabilities and regulatory scrutiny.

        61.    As a result, the Company had to restate the Q2 2022 Form 10-Q revenues stated in

paragraph 58 above.

        62.    On November 21, 2022, Harbor Diversified submitted its third quarter 2022

financial report on Form 10-Q to the SEC. 4 The Q3 2022 Form 10-Q covered the Company’s

financial performance for the period ending September 31, 2022. The filing included SOX

certifications, which were signed by Defendants Deister and Mackay.             These certifications

affirmed three key points: (i) the accuracy of the financial information presented in the report, (ii)

the disclosure of any significant changes to the Company’s internal financial control systems, and

(iii) the reporting of any fraudulent activities. By signing these certifications, Defendant Deister

and Mackay personally vouched for the integrity of the Company’s financial reporting and internal

control mechanisms for the quarter in question.




4
 Harbor Diversified, Inc., Quarterly Report (Form 10-Q) (November 21, 2022) (“Q3 2022 Form
10-Q”).


                                                  20
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       63.     The Q3 2022 Form 10-Q included a statement pursuant to Rule 15d-15(b) of the

Exchange Act that assured investors that the Individual Defendants determined that Harbor

Diversified’s methods for controlling and releasing key information were operating effectively at

the end of the quarter and that the Company’s systems provided a reasonable level of assurance in

terms of their reliability and performance:

       As required by Rule 15d-15(b) under the Exchange Act, our management,
       including our principal executive officer, principal financial officer and principal
       accounting officer, carried out an evaluation of the effectiveness of the design
       and operation of our disclosure controls and procedures (as defined in Rule 15d-
       15(e) under the Exchange Act) as of September 30, 2022, the last day of the
       period covered by this [Q3 2022 Form 10-Q]. Based on this evaluation, our
       management, including our principal executive officer, principal financial officer
       and principal accounting officer, concluded that, as of September 30, 2022, our
       disclosure controls and procedures were effective at the reasonable assurance
       level.

       64.     The Q3 2022 Form 10-Q included the following Consolidated Statement of

Operations chart containing the Company’s revenues:




                                                21
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       65.    The above statements identified in ¶¶ 62-64 were materially false and misleading

because the Individual Defendants made false and misleading statements regarding the Company’s

internal controls, particularly concerning revenue recognition and the integrity of its financial

statements. The Individual Defendants repeatedly assured investors that Harbor Diversified

maintained adequate internal controls and that the Board, particularly through its Audit

Committee, provided effective oversight of the Company’s financial reporting and risk

management processes.

       66.    In truth, the Individual Defendants breached their fiduciary duties to the Company

by:

              a)      Failing to implement and maintain adequate internal controls over the

                      Company’s financial reporting and revenue recognition practices;


                                               22
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               b)      Making or allowing the Company to make false and misleading statements

                       regarding the effectiveness of its internal controls and the accuracy of its

                       financial statements;

               c)      Failing to properly oversee the Company’s financial reporting and risk

                       management processes, despite their assurances to the contrary; and

               d)      Exposing the Company to significant financial and reputational harm,

                       including potential legal liabilities and regulatory scrutiny.

       67.     As a result, the Company had to restate the Q3 2022 Form 10-Q revenues stated in

paragraph 64 above.

       68.     On April 3, 2023, Harbor Diversified submitted its 2022 Form 10-K to the SEC.

The 2022 Form 10-K covered the Company’s financial performance for the period ending

December 31, 2022. The filing included SOX certifications, which were signed by Defendants

Deister and Mackay. These certifications affirmed three key points: (i) the accuracy of the

financial information presented in the report, (ii) the disclosure of any significant changes to the

Company’s internal financial control systems, and (iii) the reporting of any fraudulent activities.

By signing these certifications, Defendant Deister and Mackay personally vouched for the integrity

of the Company’s financial reporting and internal control mechanisms for the quarter in question.

       69.     The 2022 Form 10-K included a statement pursuant to Rule 15d-15(b) of the

Exchange Act that assured investors that the Individual Defendants determined that Harbor

Diversified’s methods for controlling and releasing key information were operating effectively at

the end of the quarter and that the Company’s systems provided a reasonable level of assurance in

terms of their reliability and performance:

       As required by Rule 15d-15(b) under the Exchange Act, our management, under
       the supervision and with the participation of our principal executive officer, our



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       principal financial officer and our principal accounting officer, carried out an
       evaluation of the effectiveness of the design and operation of our disclosure
       controls and procedures (as defined in Rule 15d-15(e) under the Exchange Act)
       as of December 31, 2022, the last day of the period covered by this [2022 Form
       10-K]. Based on this evaluation, our management, including our principal
       executive officer, our principal financial officer and our principal accounting
       officer, concluded that, as of December 31, 2022, our disclosure controls and
       procedures were effective at the reasonable assurance level.

       70.    The 2022 Form 10-K included the following Consolidated Statement of Operations

chart containing the Company’s revenues:




       71.    The above statements identified in ¶¶ 69-71 were materially false and misleading

because the Individual Defendants made false and misleading statements regarding the Company’s

internal controls, particularly concerning revenue recognition and the integrity of its financial

statements. The Individual Defendants repeatedly assured investors that Harbor Diversified



                                               24
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maintained adequate internal controls and that the Board, particularly through its Audit

Committee, provided effective oversight of the Company’s financial reporting and risk

management processes.

        72.   In truth, the Individual Defendants breached their fiduciary duties to the Company

by:

              a)       Failing to implement and maintain adequate internal controls over the

                       Company’s financial reporting and revenue recognition practices;

              b)       Making or allowing the Company to make false and misleading statements

                       regarding the effectiveness of its internal controls and the accuracy of its

                       financial statements;

              c)       Failing to properly oversee the Company’s financial reporting and risk

                       management processes, despite their assurances to the contrary; and

              d)       Exposing the Company to significant financial and reputational harm,

                       including potential legal liabilities and regulatory scrutiny.

        73.   As a result, the Company had to restate the 2022 Form 10-K revenues stated in

paragraph 70 above..

        74.   On May 15, 2023, Harbor Diversified submitted its first quarter 2023 financial

report on Form 10-Q to the SEC. 5 The Q1 2023 Form 10-Q covered the Company’s financial

performance for the period ending March 31, 2023. The filing included SOX certifications, which

were signed by Defendants Deister and Mackay. These certifications affirmed three key points:

(i) the accuracy of the financial information presented in the report, (ii) the disclosure of any




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 Harbor Diversified, Inc., Quarterly Report (Form 10-Q) (May 15, 2023) (“Q1 2023 Form 10-
Q”).


                                                 25
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significant changes to the Company’s internal financial control systems, and (iii) the reporting of

any fraudulent activities.   By signing these certifications, Defendant Deister and Mackay

personally vouched for the integrity of the Company’s financial reporting and internal control

mechanisms for the quarter in question.

       75.     The Q1 2023 Form 10-Q included a statement pursuant to Rule 15d-15(b) of the

Exchange Act that assured investors that the Individual Defendants determined that Harbor

Diversified’s methods for controlling and releasing key information were operating effectively at

the end of the quarter and that the Company’s systems provided a reasonable level of assurance in

terms of their reliability and performance:

       As required by Rule 15d-15(b) under the Exchange Act, our management,
       including our principal executive officer, principal financial officer and principal
       accounting officer, carried out an evaluation of the effectiveness of the design
       and operation of our disclosure controls and procedures (as defined in Rule 15d-
       15(e) under the Exchange Act) as of March 31, 2023, the last day of the period
       covered by this [Q1 2023 Form 10-Q]. Based on this evaluation, our
       management, including our principal executive officer, principal financial officer
       and principal accounting officer, concluded that, as of March 31, 2023, our
       disclosure controls and procedures were effective at the reasonable assurance
       level.

       76.     The Q1 2023 Form 10-Q included the following Consolidated Statement of

Operations chart containing the Company’s revenues:




                                                26
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       77.    The above statements identified in ¶¶ 75-77 were materially false and misleading

because the Individual Defendants made false and misleading statements regarding the Company’s

internal controls, particularly concerning revenue recognition and the integrity of its financial

statements. The Individual Defendants repeatedly assured investors that Harbor Diversified

maintained adequate internal controls and that the Board, particularly through its Audit

Committee, provided effective oversight of the Company’s financial reporting and risk

management processes.

       78.    In truth, the Individual Defendants breached their fiduciary duties to the Company

by:




                                               27
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               a)     Failing to implement and maintain adequate internal controls over the

                      Company’s financial reporting and revenue recognition practices;

               b)     Making or allowing the Company to make false and misleading statements

                      regarding the effectiveness of its internal controls and the accuracy of its

                      financial statements;

               c)     Failing to properly oversee the Company’s financial reporting and risk

                      management processes, despite their assurances to the contrary; and

               d)     Exposing the Company to significant financial and reputational harm,

                      including potential legal liabilities and regulatory scrutiny.

        79.    As a result, the Company had to restate the Q1 2023 Form 10-Q revenues stated in

paragraph 76 above.

        80.    On August 14, 2023, Harbor Diversified submitted its second quarter 2022 financial

report on Form 10-Q to the SEC. 6 The Q2 2023 Form 10-Q covered the Company’s financial

performance for the period ending June 30, 2023. The filing included SOX certifications, which

were signed by Defendants Deister and Mackay. These certifications affirmed three key points:

(i) the accuracy of the financial information presented in the report, (ii) the disclosure of any

significant changes to the Company’s internal financial control systems, and (iii) the reporting of

any fraudulent activities.   By signing these certifications, Defendant Deister and Mackay

personally vouched for the integrity of the Company’s financial reporting and internal control

mechanisms for the quarter in question.




6
 Harbor Diversified, Inc., Quarterly Report (Form 10-Q) (August 14, 2023) (Q2 2023 Form 10-
Q”).


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       81.     The Q2 2023 Form 10-Q included a statement pursuant to Rule 15d-15(b) of the

Exchange Act that assured investors that the Individual Defendants determined that Harbor

Diversified’s methods for controlling and releasing key information were operating effectively at

the end of the quarter and that the Company’s systems provided a reasonable level of assurance in

terms of their reliability and performance:

       As required by Rule 15d-15(b) under the Exchange Act, our management,
       including our principal executive officer, principal financial officer and principal
       accounting officer, carried out an evaluation of the effectiveness of the design
       and operation of our disclosure controls and procedures (as defined in Rule 15d-
       15(e) under the Exchange Act) as of June 30, 2023, the last day of the period
       covered by [Q2 2023 Form 10-Q]. Based on this evaluation, our management,
       including our principal executive officer, principal financial officer and principal
       accounting officer, concluded that, as of June 30, 2023, our disclosure controls
       and procedures were effective at the reasonable assurance level.

       82.     The Q2 2023 Form 10-Q included the following Consolidated Statement of

Operations chart containing the Company’s revenues:




                                                29
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       83.    The above statements identified in ¶¶ 81-83 were materially false and misleading

because the Individual Defendants made false and misleading statements regarding the Company’s

internal controls, particularly concerning revenue recognition and the integrity of its financial

statements. The Individual Defendants repeatedly assured investors that Harbor Diversified

maintained adequate internal controls and that the Board, particularly through its Audit

Committee, provided effective oversight of the Company’s financial reporting and risk

management processes.

       84.    In truth, the Individual Defendants breached their fiduciary duties to the Company

by:

              a)      Failing to implement and maintain adequate internal controls over the

                      Company’s financial reporting and revenue recognition practices;


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               b)      Making or allowing the Company to make false and misleading statements

                       regarding the effectiveness of its internal controls and the accuracy of its

                       financial statements;

               c)      Failing to properly oversee the Company’s financial reporting and risk

                       management processes, despite their assurances to the contrary; and

               d)      Exposing the Company to significant financial and reputational harm,

                       including potential legal liabilities and regulatory scrutiny.

        85.    As a result, the Company had to restate the Q2 2023 Form 10-Q revenues stated in

paragraph 82 above.

        86.    On November 14, 2023, Harbor Diversified submitted its third quarter 2022

financial report on Form 10-Q to the SEC. 7 The Q3 2023 Form 10-Q covered the Company’s

financial performance for the period ending September 30, 2023. The filing included SOX

certifications, which were signed by Defendants Deister and Mackay.             These certifications

affirmed three key points: (i) the accuracy of the financial information presented in the report, (ii)

the disclosure of any significant changes to the Company’s internal financial control systems, and

(iii) the reporting of any fraudulent activities. By signing these certifications, Defendant Deister

and Mackay personally vouched for the integrity of the Company’s financial reporting and internal

control mechanisms for the quarter in question.

        87.    The Q3 2023 Form 10-Q included a statement pursuant to Rule 15d-15(b) of the

Exchange Act that assured investors that the Individual Defendants determined that Harbor

Diversified’s methods for controlling and releasing key information were operating effectively at




7
 Harbor Diversified, Inc., Quarterly Report (Form 10-Q) (November 14, 2023) (“Q3 2023 Form
10-Q”).


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the end of the quarter and that the Company’s systems provided a reasonable level of assurance in

terms of their reliability and performance:

       As required by Rule 15d-15(b) under the Exchange Act, our management,
       including our principal executive officer, principal financial officer and principal
       accounting officer, carried out an evaluation of the effectiveness of the design
       and operation of our disclosure controls and procedures (as defined in Rule 15d-
       15(e) under the Exchange Act) as of September 30, 2023, the last day of the
       period covered by this [Q3 2023 Form 10-Q]. Based on this evaluation, our
       management, including our principal executive officer, principal financial officer
       and principal accounting officer, concluded that, as of September 30, 2023, our
       disclosure controls and procedures were effective at the reasonable assurance
       level.

       88.     The Q3 2023 Form 10-Q included the following Consolidated Statement of

Operations chart containing the Company’s revenues:




       89.     The above statements identified in ¶¶ 86-88 were materially false and misleading

because the Individual Defendants made false and misleading statements regarding the Company’s


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internal controls, particularly concerning revenue recognition and the integrity of its financial

statements. The Individual Defendants repeatedly assured investors that Harbor Diversified

maintained adequate internal controls and that the Board, particularly through its Audit

Committee, provided effective oversight of the Company’s financial reporting and risk

management processes.

        90.   In truth, the Individual Defendants breached their fiduciary duties to the Company

by:

              a)      Failing to implement and maintain adequate internal controls over the

                      Company’s financial reporting and revenue recognition practices;

              b)      Making or allowing the Company to make false and misleading statements

                      regarding the effectiveness of its internal controls and the accuracy of its

                      financial statements;

              c)      Failing to properly oversee the Company’s financial reporting and risk

                      management processes, despite their assurances to the contrary; and

              d)      Exposing the Company to significant financial and reputational harm,

                      including potential legal liabilities and regulatory scrutiny.

        91.   As a result, the Company had to restate the Q3 2023 Form 10-Q revenues stated in

paragraph 88 above.

                                THE TRUTH IS REVEALED

        92.   On March 29, 2024, Harbor Diversified filed a current report on Form 8-K with the

SEC 8 revealing that investors should no longer rely upon the Q1 2022 Form 10-Q, Q2 2022 Form




8
 Harbor Diversified, Inc., Current Report (Form 8-K) (March 29, 2024) (“March 29, 2024 Current
Report”).


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10-Q, Q3 2022 Form 10-Q, 2022 Form 10-K, Q1 2023 Form 10-Q, Q2 2023 Form 10-Q, and

the Q3 2023 Form 10-Q, and that these needed to be restated due to “misstatements contained in

such financial statements.”

       93.     According to the March 29, 2024 Current Report, the misstatement stemmed from

improper revenue recognition related to a capacity purchase agreement between Air Wisconsin (a

Harbor Diversified subsidiary) and United Airlines. Approximately $52.3 million in revenue and

interest income was incorrectly recognized, violating Accounting Standards Codification (“ASC”)

606, Revenue from Contracts with Customers. Consequently, Harbor Diversified needed to report

a material weakness in its internal control over financial reporting for 2023. Management

concluded that the Company’s internal controls and disclosure procedures were ineffective during

the periods in question. Specifically, the March 29, 2024 Current Report stated as follows:

       On March 26, 2024, the audit committee (the “Audit Committee”) of the board
       of directors of Harbor Diversified, Inc. (the “Company”) concluded, after
       considering the recommendations of management, that the Company’s
       previously issued (i) consolidated financial statements and related disclosures as
       of and for the year ended December 31, 2022 contained in the Company’s Annual
       Report on Form 10-K, (ii) interim consolidated financial statements and related
       disclosures contained in the Quarterly Reports on Form 10-Q as of and for the
       first three quarters of the year ended December 31, 2022, and (iii) interim
       consolidated financial statements and related disclosures contained in the
       Quarterly Reports on Form 10-Q as of and for the first three quarters of the year
       ended December 31, 2023 (collectively, the “Non-Reliance Periods”) should no
       longer be relied upon due to misstatements contained in such financial statements,
       and that such financial statements should be restated.

       The Audit Committee’s conclusion was based on management’s review of the
       accounting for certain revenue under the [United Agreement] previously entered
       into between [Air Wisconsin], a wholly owned subsidiary of the Company, and
       [United]. As discussed in greater detail [], management determined that the
       decision to recognize all of the approximately $52.3 million in revenue and
       interest income (the “Disputed Amounts”) in the consolidated financial
       statements and related disclosures prepared for the Non-Reliance Periods relating
       to certain disputed amounts under the United Agreement was not consistent with
       [ASC 606]. The Audit Committee discussed its conclusion and management’s
       determination, and the other matters described in this [2024] Current Report, with



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    the Company’s independent registered public accounting firm, Grant Thornton
    LLP (“Grant Thornton”).

                                     *      *       *

    Accounting Analysis

    Upon its receipt of the [a]rbitration [a]ward, the Company commenced an
    analysis of the complex accounting treatment leading to the recognition of the
    Disputed Amounts in revenue and interest income in light of the unexpected
    outcome of the arbitration. Following extensive discussions between Company
    management and Grant Thornton, as well as consultation between management
    and additional accounting and legal advisors, the Company concluded that (i) its
    prior determination as to the amount of the disputed revenue and interest income
    under the United Agreement was inconsistent with the guidance in ASC 606,
    resulting in an accounting error as that concept is defined in the accounting
    guidance, and (ii) its financial statements for the Non-Reliance Periods should be
    restated. Although cumulative revenue for the Non-Reliance Periods will change
    by approximately $52.3 million, this will be partially offset by changes to the
    provision for income taxes in 2022 and an income tax benefit in 2023 on the
    statements of operations included in the consolidated financial statements. In
    addition, the balance sheets included in the consolidated financial statements will
    change to remove the related receivables from United, as well as take into account
    the related changes to the income tax provision/benefit. The Company also
    expects to file amended tax returns and seek reimbursement of certain tax
    payments made based on the previously recognized revenue and interest income.
    As a result, the Company expects to record an income tax receivable related to
    the amended returns. The Company continues to assess the scope of the expected
    adjustments to the consolidated financial statements.

                                     *      *       *

    Controls and Procedures Assessment

    Company management continues to assess its internal control over financial
    reporting and disclosure controls and procedures in light of its determination to
    restate the financial statements. The Company will report a material weakness in
    internal control over financial reporting in its Annual Report on Form 10-K for
    the year ended December 31, 2023. Because of the weakness, the Company’s
    management concluded that it did not maintain effective internal control over
    financial reporting and disclosure controls and procedures for the Non-Reliance
    Periods. Company management, at the direction of the Audit Committee,
    continues to evaluate appropriate remediation actions.




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                  AN INVESTOR FILES A SECURITIES CLASS ACTION

       94.     On May 7, 2024 a purported purchaser of Company stock filed a securities class

action complaint, captioned Kothari v Harbor Diversified, Inc. et al., Case No. 1:24-cv-00556 in

the United States District Court for the Eastern District of Wisconsin against Harbor Diversified

and Defendants Deister and Mackay (the “Securities Class Action”). The Securities Class Action

alleges that throughout the class period of May 10, 2022 and March 29, 2024, Defendants made

materially false and/or misleading statements, failing to disclose material adverse facts about the

Company’s business, operations, and prospects.

           THE INDIVIDUAL DEFENDANTS’ MISCONDUCT DIRECTLY
        AND PROXIMATELY CAUSES DAMAGES TO HARBOR DIVERSIFIED

       95.     As a result of the Individual Defendants’ improprieties, Harbor Diversified

disseminated improper public statements concerning Harbor Diversified’s operations, prospects,

and internal controls. This misconduct has devastated Harbor Diversified’s credibility.

       96.     As a direct and proximate result of the Individual Defendants’ actions, Harbor

Diversified has expended, and will continue to expend, significant sums of money defending and

paying any settlement in the Securities Class Action.

       97.     As a direct and proximate result of the Individual Defendants’ actions as alleged

above, Harbor Diversified’s market capitalization has been substantially damaged, losing millions

of dollars in value because of the conduct described herein.

       98.     Lastly, the actions of the Individual Defendants have irreparably damaged Harbor

Diversified’s corporate image and goodwill. For at least the foreseeable future, Harbor Diversified

will suffer from what is known as the “liar’s discount,” a term applied to the stocks of companies

that have been implicated in illegal behavior and have misled the investing public, such that Harbor

Diversified’s ability to raise equity capital or debt on favorable terms in the future is now impaired.



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        CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION

       99.     In committing the wrongful acts alleged herein, the Individual Defendants have

pursued, or joined in the pursuit of, a common course of conduct, and have acted in concert with

and conspired with one another in furtherance of their wrongdoing. The Individual Defendants

caused the Company to conceal the true facts as alleged herein. The Individual Defendants further

aided and abetted and/or assisted each other in breaching their respective duties.

       100.    The purpose and effect of the conspiracy, common enterprise, and/or common

course of conduct were, among other things, to (i) facilitate and disguise the Individual

Defendants’ violations of law, including breaches of fiduciary duty and unjust enrichment; (ii)

conceal adverse information concerning the Company’s operations, financial condition, future

business prospects and internal controls; and (iii) artificially inflate the Company’s stock price.

       101.    The Individual Defendants accomplished their conspiracy, common enterprise,

and/or common course of conduct by causing the Company purposefully, recklessly, or with gross

negligence to engage in improper accounting methods, conceal material facts, fail to correct such

misrepresentations, and violate applicable laws. In furtherance of this plan, conspiracy, and course

of conduct, Individual Defendants collectively and individually took the actions set forth herein.

The Individual Defendants described herein were direct, necessary, and substantial participants in

the common enterprise, and/or common course of conduct complained here because the action

described herein occurred under the authority and approval of the Board.

       102.    Each of the Individual Defendants aided, abetted, and rendered substantial

assistance in the wrongs complained of herein. In taking such actions to substantially assist the

commission of the wrongdoing complained of herein, each of the Individual Defendants acted with

actual or constructive knowledge of the primary wrongdoing, either took direct part in or




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substantially assisted the accomplishment of that wrongdoing and was or should have been aware

of his or her overall contribution to and furtherance of the wrongdoing.

       103.    At all times relevant hereto, each of the Individual Defendants was the agent of

each of the other Individual Defendants and Harbor Diversified and was at all times acting within

the course and scope of such agency.

             PLAINTIFF HAS BEEN A STOCKHOLDER SINCE THE
        ALLEGED WRONGDOING AND WILL FAIRLY AND ADEQUATELY
      REPRESENT THE COMPANY’S AND ITS STOCKHOLDERS’ INTERESTS

       104.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above as though fully set forth herein.

       105.    Plaintiff brings this action derivatively in the right and for the benefit of the

Company to redress the Individual Defendants’ misconduct.

       106.    Plaintiff is an owner of Harbor Diversified common stock and has been an owner

of Harbor Diversified common stock since the wrongdoing alleged herein.

       107.    Plaintiff has hired counsel experienced in conducting derivative litigation and will

adequately and fairly represent the interests of the Company and its stockholders in enforcing and

prosecuting the Company’s rights.

                                     DEMAND IS FUTILE

                      Demand Is Futile Because Each Member of the
                  Board Faces a Substantial Likelihood of Personal Liability

       108.    At the time Plaintiff commenced this action, the Board consisted of the three

Director Defendants: Bartlett, Bederman, and Degen. The Director Defendants are incapable of

making an independent and disinterested decision to institute and vigorously prosecute this action.

       109.    The Director Defendants all face a substantial likelihood of liability for their

individual misconduct. The Director Defendants were directors throughout the time of the false



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and misleading statements and, as such, had a fiduciary duty to ensure the accuracy of the

Company’s SEC filings, press releases, and other public statements and presentations concerning

Harbor Diversified’s business, operations, prospects, internal controls, and financial statements.

        110.    Moreover, the Director Defendants owed and owe a duty to, in good faith and with

due diligence, exercise reasonable inquiry, oversight, and supervision to ensure that the

Company’s internal controls were sufficiently robust and effective and were being implemented

effectively, and to ensure that the Board’s duties were being discharged in good faith and with the

required diligence and due care. Instead, they knowingly and consciously reviewed, authorized,

and/or caused the publication of the materially false and misleading statements discussed above

that caused the Company’s stock to trade at artificially inflated prices.

        111.    The Director Defendants face a substantial likelihood of personal liability because

of their conscious and knowing authorization of false and misleading statements, their failure to

timely correct such statements, their failure to take necessary and appropriate steps to ensure that

the Company’s internal controls were sufficiently robust and effective and were being

implemented effectively, and their failure to take necessary and appropriate steps to ensure that

the Board’s duties were being discharged in good faith and with the required diligence constitute

breaches of the fiduciary duties of loyalty and good faith, for which the Director Defendants face

a substantial likelihood of liability.

        112.    If the Director Defendants were to bring a suit on behalf of Harbor Diversified to

recover damages sustained as a result of this misconduct, they would expose themselves to

significant liability. For this reason, Plaintiff’s making a demand would be futile.




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                            The Audit Committee Defendants Face a
                            Greater Likelihood of Personal Liability

       113.    The Audit Committee Defendants (Defendants Bederman and Degen), as members

of the Audit Committee during the Relevant Period, participated in and knowingly approved the

filing of false financial statements. More specifically, as members of the Audit Committee, the

Audit Committee Defendants were obligated to review the Company’s annual and quarterly

reports to ensure their accuracy. Instead, the Audit Committee Defendants, as members of the

Audit Committee, failed to ensure the integrity of the Company’s financial statements and

financial reporting process and its systems of internal accounting and financial controls and other

financial information provided by the Company, as required by the Audit Committee Charter. For

this reason, the Audit Committee Defendants cannot exercise disinterested business judgment in

considering a demand.

               THE DIRECTOR DEFENDANTS LACK INDEPENDENCE

       114.    The Director Defendants (Bartlett, Bederman, and Degen) lack independence. The

2022 Form 10-K concedes that Bartlett is not an independent director.

       115.    Defendants Bederman and Degen have served on the board of managers of Air

Wisconsin since March 2020, and Defendant Bartlett served on the Air Wisconsin board of

managers for over 25 years. Accordingly, based on their personal and business relationship, the

Director Defendants could not exercise independent business judgment in considering a demand

to investigate and prosecute this action. Thus, demand is futile as to Defendant’s Bartlett,

Bederman, and Degen.




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                                    FIRST CAUSE OF ACTION
                  Against the Individual Defendants for Breach of Fiduciary Duties

           116.   Plaintiff incorporates by reference and realleges each and every allegation set forth

above as though fully set forth herein.

           117.   Each Individual Defendant owed to the Company the duty to exercise candor, good

faith, and loyalty in the management and administration of Harbor Diversified’s business and

affairs.

           118.   Each of the Individual Defendants violated and breached his or her fiduciary

duties of candor, good faith, loyalty, reasonable inquiry, oversight, and supervision.

           119.   The Individual Defendants’ conduct set forth herein was due to their intentional or

reckless breach of the fiduciary duties they owed to the Company. The Individual Defendants

intentionally or recklessly breached or disregarded their fiduciary duties to protect the rights and

interests of Harbor Diversified.

           120.   In breach of their fiduciary duties owed and owe to Harbor Diversified, the

Individual Defendants willfully or recklessly made, or caused or permitted the Company to make,

false and misleading statements and omissions of material fact regarding the Company’s internal

controls, particularly concerning revenue recognition and the integrity of its financial statements.

The Individual Defendants repeatedly assured investors that Harbor Diversified maintained

adequate internal controls and that the Board, particularly through its Audit Committee, provided

effective oversight of the Company’s financial reporting and risk management processes. In truth,

the Individual Defendants breached their fiduciary duties to the Company by:

                  a)     Failing to implement and maintain adequate internal controls over the

                         Company’s financial reporting and revenue recognition practices;




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                b)       Making or allowing the Company to make false and misleading statements

                         regarding the effectiveness of its internal controls and the accuracy of its

                         financial statements;

                c)       Failing to properly oversee the Company’s financial reporting and risk

                         management processes, despite their assurances to the contrary; and

                d)       Exposing the Company to significant financial and reputational harm,

                         including potential legal liabilities and regulatory scrutiny.

        121.    Accordingly, Harbor Diversified’s public statements were materially false,

misleading, and lacked a reasonable basis during the Relevant Period, thereby causing the stock to

trade at artificially inflated prices.

        122.    The Individual Defendants failed to and caused the Company to fail to rectify any

of the wrongs described herein or correct the false and misleading statements and omissions of

material fact referenced herein, thereby, rendering themselves personally liable to the Company

for breaching their fiduciary duties.

        123.    The Individual Defendants also failed to maintain an adequate system of oversight,

disclosure controls and procedures, and internal controls in breach of their fiduciary duties.

        124.    The Individual Defendants had actual or constructive knowledge that the Company

issued materially false and misleading statements, and they failed to correct the Company’s public

statements. The Individual Defendants had actual knowledge of the misrepresentations and

omissions of material facts set forth herein or acted with reckless disregard to the truth in that they

failed to ascertain and disclose such facts even though such facts were available to them. Such

material misrepresentations and omissions were committed knowingly or recklessly and for the

purpose and effect of artificially inflating the price of the Company’s securities.




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       125.    The Individual Defendants had actual or constructive knowledge that they had

caused the Company to improperly engage in the fraudulent schemes set forth herein and to fail to

maintain adequate internal controls. The Individual Defendants had actual knowledge that the

Company was engaging in the fraudulent schemes set forth herein, and that internal controls were

not adequately maintained or acted with reckless disregard for the truth in that they caused the

Company to improperly engage in the fraudulent schemes and to fail to maintain adequate internal

controls, even though such facts were available to them. Such improper conduct was committed

knowingly or recklessly and for the purpose and effect of artificially inflating the price of the

Company’s securities. The Individual Defendants, in good faith, should have taken appropriate

action to correct the schemes alleged herein and to prevent them from continuing to occur.

       126.    These actions were not a good-faith exercise of prudent business judgment to

protect and promote the Company’s corporate interests.

       127.    As a direct and proximate result of the Individual Defendants’ breaches of their

fiduciary obligations, Harbor Diversified has sustained and continues to sustain significant

damages. As a result of the misconduct alleged herein, the Individual Defendants are liable to the

Company.

                            SECOND CAUSE OF ACTION
                     Against the Securities Class Action Defendants
 for Contribution under Sections 10(b) and 21D of the Exchange Act and SEC Rule 10b-5

       128.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above as though fully set forth herein.

       129.    Harbor Diversified and the Securities Class Action Defendants (Deister and

Mackay) are named as defendants in the Securities Class Action, which asserts claims under the

federal securities laws for violations of Sections 10(b) and 21D of the Exchange Act and SEC Rule




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10b-5. If the Company is found liable in the Securities Class Action for these violations of the

federal securities laws, the Company’s liability will be in whole or in part due to the Securities

Class Action Defendants’ willful and/or reckless violations of their obligations as officers and/or

directors of Harbor Diversified.

       130.     Because of their positions of control and authority as officers and/or directors of

Harbor Diversified, the Securities Class Action Defendants were able to and did, directly and/or

indirectly, exercise control over the business and corporate affairs of Harbor Diversified, including

the wrongful acts complained of herein and in the Securities Class Action.

       131.     Accordingly, the Securities Class Action Defendants are liable under Section 10(b)

of the Exchange Act, 15 U.S.C. § 78j(b), and SEC Rule 10b-5, which create an implied private

right of action for contribution, and Section 21D of the Exchange Act, 15 U.S.C. § 78u-4(f), which

governs the application of a private right of action for contribution arising out of violations of the

Exchange Act.

       132.     As such, Harbor Diversified is entitled to receive all appropriate contribution or

indemnification from the Securities Class Action Defendants.

                                 THIRD CAUSE OF ACTION
                   Against the Individual Defendants for Unjust Enrichment

       133.     Plaintiff incorporates by reference and realleges each and every allegation set forth

above as though fully set forth herein.

       134.     By their wrongful acts, violations of law, and false and misleading statements and

omissions of material fact that they made or caused to be made, the Individual Defendants were

unjustly enriched at the expense of, and to the detriment of, Harbor Diversified.

       135.     The Individual Defendants benefitted financially from the improper conduct,

received unjustly lucrative bonuses tied to the false and misleading statements, and received



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bonuses, stock options, or similar compensation from Harbor Diversified that was tied to the

performance or artificially inflated valuation of Harbor Diversified, or received compensation that

was unjust in light of the Individual Defendants’ bad faith conduct.

       136.    Plaintiff, as a stockholder and representative of Harbor Diversified, seeks

restitution from the Individual Defendants and seeks an order from this Court disgorging all

profits—including from insider sales, benefits, and other compensation, including any

performance-based or valuation-based compensation—obtained by the Individual Defendants

from their wrongful conduct and breach of their fiduciary duties.

       137.    Plaintiff, on behalf of Harbor Diversified, has no adequate remedy at law.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment as follows:

       A.      Declaring that Plaintiff may maintain this derivative action on behalf of Harbor

Diversified and that Plaintiff is a proper and adequate representative of the Company;

       B.      Awarding the amount of damages sustained by the Company as a result of the

Individual Defendants’ breaches of fiduciary duties and violations of the federal securities laws;

       C.      Awarding prejudgment interest to the Company;

       D.      Granting appropriate equitable relief to remedy Individual Defendants’ breaches of

fiduciary duties and other violations of law;

       E.      Awarding to Plaintiff the costs and disbursements of the action, including

reasonable attorneys’ fees, accountants’ and experts’ fees and costs and expenses; and

       F.      Granting such other and further relief as the Court deems just and proper.

                                  JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury.




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Dated: August 12, 2024                    /s/ P. Bradford deLeeuw
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